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                                                     January 11, 2023


     VIA CM/ECF AND FEDERAL EXPRESS

     Chambers of the Hon. Henry E. Hudson
     c/o Fernando Galindo, Clerk of Court
     United States District Court
     for the Eastern District of Virginia
     701 East Broad Street
     Richmond, VA 23219

             Re:     MSP Recovery Claims, et al. v. Lundbeck LLC, et al., No. 3:22-cv-422
                     Notice of Supplemental Authority

     Dear Judge Hudson,

            Defendant Lundbeck LLC hereby submits the following decision, which the U.S.
     Court of Appeals for the Third Circuit issued on December 15, 2022, after the completion
     of briefing on Lundbeck LLC’s Motion to Dismiss (ECF No. 32): Humana, Inc. v.
     Indivior, Inc., Nos. 21-2573 & 21-2574, 2022 WL 17718342 (3d Cir. Dec. 15, 2022).

             Humana addresses Lundbeck LLC’s argument that the “indirect purchaser rule”
     applies to RICO claims and precludes relief here. Lundbeck made this argument on pages
     17-18 of its Memorandum in Support of its Motion to Dismiss (ECF No. 39), and pages
     10-12 of its Reply (ECF No. 58). Plaintiffs addressed this argument (including by citing
     Third Circuit law) on pages 11-16 of their Opposition to Lundbeck’s Motion to Dismiss
     (ECF No. 52).

             A copy of the decision is attached hereto as Exhibit A for the Court’s convenience.

                                                     Sincerely,

                                                     By: /s/ Kolya Glick___________________
                                                        Kolya D. Glick
                                                        Counsel for Lundbeck LLC

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